                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

 PARENTS DEFENDING EDUCATION,
                         Plaintiff,
 v.

 LINN-MAR COMMUNITY SCHOOL                            Case No. 22-cv-78-CJW-MAR
 DISTRICT; et al.,

                         Defendants.                  EXPEDITED RELIEF REQUESTED




               PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

        Plaintiff, Parents Defending Education (“PDE”), hereby moves for a preliminary injunction

barring Linn-Mar Community School District (“Linn-Mar”) and the other defendants from enforcing

Linn-Mar Policy 504.13R during the pendency of this litigation.

        As set forth in the accompanying Memorandum of Law, good cause exists for the relief

requested. Linn-Mar enacted Policy 504.13R on April 25, 2022. The Policy authorizes children to make

fundamentally important decisions concerning their gender identity without any parental involvement

and to then hide these decisions from their parents. The Policy also punishes students for expressing

their sincerely held beliefs about biological sex and compels them to affirm the beliefs of

administrators and their fellow students. Specifically, the Policy prohibits speech that doesn’t “respect

a student’s gender identity” and “misgendering,” which is defined as “intentionally or accidentally

us[ing] the incorrect name or pronouns to refer to a person.”

        The Policy violates the First and Fourteenth Amendments to the United States Constitution.

PDE, its members, and other parents and students enrolled at Linn-Mar will suffer irreparable harm




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absent an injunction; the balance of the equities tips in PDE’s favor; and an injunction is in the public

interest.

        Per Local Rule 7(k), counsel for PDE conferred in good faith with counsel for the Defendants,

who stated that Defendants oppose this motion.

        WHEREFORE, for the reasons set forth in the accompanying Memorandum of Law, PDE

respectfully requests that the Court issue a preliminary injunction barring Defendants from enforcing

Policy 504.13R during the pendency of this litigation.



        Dated: August 5, 2022,                           Respectfully submitted,

                                                         /s/ Alan R. Ostergren
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                                                         Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE
       I certify that on August 5, 2022, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF System, which will automatically send e-mail notification to all counsel of record.

       Because Defendants have not yet entered an appearance, and with Defendants’ counsel’s

consent, I am also serving the foregoing by email to Defendants’ counsel at the email address below:



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                                                              /s/ Alan R. Ostergren

                                                             Counsel for Plaintiff




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